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                                                        U.S. Department of Justice

                                                        Matthew M. Graves
                                                        United States Attorney

                                                        District of Columbia


                                                        Patrick Henry Building
                                                        601 D Street, N.W.
                                                        Washington, D.C. 20530


                                                     August 30, 2024
BY EMAIL

Allen H. Orenberg
The Orenberg Law Firm, LLC
200-A Monroe Street, Suite 233
Rockville, Maryland 20850

       Re:     United States v. Dion Rajewski, Case No. 22-cr-11

Dear Mr. Orenberg:

We write to respond to your request dated August 21, 2024, for information regarding the MK-46
oleoresin capsicum (“OC”) cannister that Dion Rajewski passed to another rioter while outside the
Lower West Terrace Tunnel (the “Tunnel”) around 4:00 p.m. on January 6, 2021.

The government provides the following information about the cannister. In the video titled,
“THAT’S ONE BIG FLAG! THE STORM ARRIVED PT. 7,” (the “BIG FLAG VIDEO”), which
was produced to you on February 14, 2022, Rajewski passed the cannister towards the Tunnel at
3:05 elapsed time. As shown in the video, about 30 seconds later, a rioter in a black winter hat,
circled in yellow in Image 1 below, descended the stairs outside the Tunnel holding what appears
to be the same cannister.

The same video shows a different, but identical looking MK-46 cannister later being passed by co-
Defendant Zachary Johnson to another rioter, who immediately discharged it against police
officers in the Tunnel at 8:23 elapsed time. Dion Rajewski does not appear to use or carry the
cannister that was discharged.

Another video titled, “Washington Protest,” which was also produced to you on February 14, 2022,
shows the passing of the first cannister (i.e., the 3:05 time mark in the BIG FLAG VIDEO) incident
from a different angle. Rajewski passed the cannister in the direction of the Tunnel at 6:14 elapsed
time. About one minute later, the same rioter in the black winter hat, circled in yellow in Image 2
below, descended the stairs with what appears to be the same cannister in his left hand.
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       Image 1 (from the “BIG FLAG VIDEO” at 3:50 elapsed time)




    Image 2 (from the “Washington Protest” video at 7:36 elapsed time)




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Additional videos show the rioter in the black winter hat departing the Lower West Terrace with
the cannister.

   •   Image 3 below is an open-source photograph depicting the rioter in the black winter hat
       descending the stairs by the Tunnel with the stolen cannister.

   •   Image 4 below is a screenshot from an open-source video showing the rioter in the black
       winter hat holding the stolen cannister above his head as he descended the stairs by the
       Tunnel.

   •   Image 5 below is a screenshot from an open-source video showing the rioter in the black
       hat making his way to the West Plaza with what appears to be the same stolen cannister in
       his left hand.

   •   Image 6 below is a screenshot from an open-source video depicting the rioter on the West
       Plaza with the stolen cannister slung over his left shoulder.

   •   Image 7 below is a screenshot from an open-source video depicting the rioter on the West
       Plaza with what appears to be the black strap of the stolen cannister on his left shoulder.

The government has produced these open-source videos and images to you today via USAfx. The
prosecution team is not presently aware of any video or photo that depicts the rioter in the black
winter hat discharging the cannister.




                                            Image 3

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    Image 4 (from “c4v8kvkMu23c7AfAD.mpeg” video at 7:38 elapsed)




    Image 5 (from the “158542326049264.mpeg4” video at 2:13 elapsed)

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      Image 6 (from the “584605279659324.mp4” video at 0:44 elapsed time)




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      Image 7 (from the “At the Capitol, National Anthem.mpeg4” video at 0:19 elapsed)


       Again, we appreciate you raising this issue with us. We recognize the government’s
discovery obligations, and we will continue to provide timely disclosure of any additional
information about the cannister your client handled, if such information comes to light. We request
reciprocal discovery to the fullest extent provided by Fed. R. Crim. P. 16, including any expert
summaries or reports about the cannister.

                                                     Sincerely,

                                                     JAKE E. STRUEBING
                                                     Assistant U.S. Attorney
                                                     U.S. Attorney’s Office for the
                                                     District of Columbia
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Cc: Rebekah Lederer, Assistant U.S. Attorney




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